IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,

PENNSYLVANIA

CHRISTINE BIROS,

Plaintiff,

Vs.

U LOCK INC., a Pennsylvania corp

Defendant.

WESTMORE
-

Case No. 17 CJ 04886

U LOCK ING.’S NOTICE OF
APPEAL

Filed on behalf of:

ULOCKINC., Defendant.

Counsel of record for this party:

J. Allen Roth, Esq. (PA 30347)
805 S. Alexandria
Latrobe PA 15650

(724) 537-0939
lawmatters@yahoo.com
IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,

PENNSYLVANIA
CHRISTINE BIROS, ) Case No. 17 CJ 04886
)
Plaintiff, )
)
vs. )
)
U LOCK INC., a Pennsylvania corp., )
)
Defendant. )

DEFENDANT U_ LOCK INC.'S
NOTICE OF APPEAL

Notice is hereby given that U Lock, defendant above named, hereby appeals to the
Superior Court of Pennsylvania from the order entered in this matter on the 24th day of
January, 2022. This unilateral order, although never served on U Lock Inc., has been
entered in the docket as evidenced by the attached copy of the docket entries.

TRANSCRIPT; No transcripts of the unilateral judicial interaction resulting in

the Order exist. The subsequent hearing outlining the events has already been

ri subm of

J| Allen Roth, Esq (PA 30347)
805 5S Alexandria Street
atrobe PA 15650
(724) 537-0939
lawmatters@yahoo.com

purchased and received by the parties.

ATTORNEY FOR U LOCK INC.
 

if Case Information

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 Case# Caption '~ Reference Judgment Filed Date Case
Fille Amt Type/Subtype
17CJ04886 ‘CHRISTINE Jan/24/2018 LIS
BIROS PENDENS
ANDIVID NEW FILE
VS. U :
LOCK INC
cf oe on un one wie wees ee cnuneen, wen nese { >
. Parties
Party Type "Name Address
DEFENDANT DENNISD 4345 OLD WILLIAM PENN HWY ,
ATTY ' DELCOTTO MURRYSVILLE , PA, 15668
DEFENDANT JALLEN «805 S ALEXANDRIA STREET , LATROBE , PA,
ATTY ROTH 15650
DEFENDANT JOHN A ” 437 GRANT STREET , PITTSBURGH . PA,
ATTY... TUMOLO 15219
DEFENDANT DENISE — 8700 CLEVELAND ROAD, ‘CRESTON, OH,
SCHUR 44217, USA
/EXEC
DEFENDANT ALEX SCHUR . oo
{ESTATE
Hf DEFENDANT HENRY L 310 KEYSTONE COMMONS 35 WEST _
MOORE /CO PITTSBURGH STREET, GREENSBURG, PA,
EXEC _ 15601, USA
PLAINTIFF WILLIAME | PO BOX 701, MURRYSVILLE , PA, 15668
ATTY OTTO
PLAINTIFF CHRISTINE 435 MILLERS LANE, PLUM, 15239
BIROS
. [INDIVID
DEFENDANT SUSAN "31856 LAKE DRIVE, AVON LAKE, OHIO,
STANO/CO 44012, USA
EXEC

 

 
 

',_-) DEFENDANT . NICHOLAS’

“SCHUR =
ESTATE

 

DEFENDANT KATHLEEN S:.

_» WALTER
“ JEXEC

3 RIDGE COURT, SARATOGA: SPRINGS, ‘NY,

~) 12868, USA’,

 

|; DEFENDANT MICHAEL
| ie. SSCHUR
/ESTATE

 

DEFENDANT CYNTHIA ~:

SARRIS...
ADMIN *

14249 HILAND:PLACE; IRWIN, PA, 15642, USA

 

||’ DEFENDANT. ANN SARRIS
-, 0 IBSTATE

 

‘DEFENDANT ULOCKINC

14140 ROUTE 30, NORTH 1 HUNTINGDON, -PA,
15642, USA

 

“|| INTERESTED :SHANNI”
PTY _  SNDER

14390 US.RT 30, NORTH: +HUNTINGDON, PA,
15642, USA.

 

 

 

| Events :

 

Action _ Action Description Action Name . oe ” View —
Date Do -.. Document

 

“| ‘May/19/2022 RESPONSE

AND OBJECTIONS'TO THE * View"

. EXHIBITS FILED BY
CHRSTINIE BIROS

 

“May/19/2022 NOTICE

OF BANKRUPTCY. -  Miew

 

“May/ 9/2022 MOT/PET
_ CORRECT
| CAPTION

DEFT ULOCKINCS MOTION Vie
. TO CORRECT AND OR...
- STRIKE ERRONEOUS |
_ CAPTION vol

 

May/1 9/2022 “NOTICE APPEAL “NOTICE APPEAL TO THE - View

ot TO THE
. SUPERIOR

SUPERIOR COURT -

 

“GOURT.

 

 
 

 

~ May/t 9/2022 PRO SE - SHANNI SNYDER
APPEARANCE
ENTERED BY

I<
oD
=

May/ 712022 ‘ORDER DENYING | “ORDER MAY 13 2022 DENIED View
WITH PREJUDICE NOTICE
GIVEN RULE N 236

 

’ May/17/2022. ORDER | “ORDER MAY 13 2022 WRIT OF View
a . POSSESSION ISSUED —
NOTICE GIVEN RULE N 236

 

 

May/1 7/2022 “ORDER “ORDER MAY 13 2022 AS SET View
FORTH NOTICE GIVEN RULE
N 236
Apri25/2022 BRIEF IN FOR SANCTIONS View
OPPOSITION TO
MOTION
| Apr/21/2022 PRELIMINARY ~ DEFT U. Lock INCS + View
OBJECTIONS _ PRELIMINARY OBJECTIONS

RAISING ISSUES OF FACT TO
THE PETITION FOR WRIT OF
POSSESSION

Mari 8/2022 ORDER PENDING SUPRME COURT Vie
OF PA WESTERN DISTRICT

 

‘(Mar/1 7/2022 EXHIBITS | IN SUPPORT OF PETITION To View
STRIKE ORDER OF JANUARY
20 2022: AS SET FORTH

|. Mar/17/2022 MOT/PET STRIKE PETITION TO STRIKE ORDER View
OF JAN 20 2022 AS SET
FORTH

 

 

Jan/24/2022 ORDER ~ ORDER JANUARY 20, 2022 View
NOTICE GIVEN RULE N236

Aug/27/2021 *MOT/PET STAY. AND ORDER DATED AUGUST View
TAX SALE 27 2021 GRANTING STAY
RULE N 236 NOTICE SENT

‘May/08/2020 ORDER DENYING ORDER MAY 7, 2020 MOTION View
MOTION IS DENIED WITHOUT
PREJUDICE

 

 

 

 
 

 

“Apr! 3/2020 OBJECTIONS

| Mar/26/2020 BRIEF IN
OPPOSITION TO
MOTION

Mar/23/2020 BRIEF IN.
SUPPORT OF
MOTION

 

-DEFTS OBJECTIONS TO

’ PLFFS INTERROGATORIES
REQUEST FOR ADMISSIONS
AND REQUEST FOR
PRODUCTION OF
DOCUMENTS IN AID OF
EXECUTION DIRECTED TO U
LOCK INC

seen ate te

“TO DELIVER DEEDS TOPLFF View

TO DELIVER DEEDS TO PLFF: View

Mar/23/2020 MOTION/PETITION. MOTION TO DELIVER DEEDS” “View:

TO PLFF

 

 

|| Feb/07/2020 NOTICE SENTTO NOTICE SENT TO ALL

ALL COUNSEL &

COUNSEL &

UNREPRESENTED UNREPRESENTED

PARTIES/PER PA
RA.

. Feb/04/2020 ‘SUPPLEMENT |

Feb/04/2020 ORDER
PURSUANT TO
RULE 1925(A)

Jan/24/2020 BRIEF IN
SUPPORT OF
MOTION

Jan/24/2020 STATEMENT
PURSUANT TO

RULE 1925

Jan/24/2020, ‘BRIEF IN
“OPPOSITION TO
MOTION

PARTIES/PER PA RA

ORDER TO RULE 19254 View

‘ORDER PURSUANT TO RULE View
1925(A).

TO REQUIRE DEFT TO POST
SECURITY

OF ISSUES TO BE RAISED ON
APPEAL

 

View

‘TO REQUIRE DEFT TO POST
SECURITY PURSUANT TO
PARAP 1733 AND
OBJECTIONS TOTHE
PROPERTY INSPECTION ©
PROCEDURE —

 

View

 

 
 

 

Jan/24/2020 VERIFICATION

_ OF GEORGE SNYDER JR AS
TO PLFFS MOTION TO
REQUIRE DEFT TO POST
SECURITY PURSUANT TO
PENNSYLVANIA RULE OF
APPELLATE PROCEDURE
1733

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=

 

“Hy. Jani 072020 MOTION/PETITION “MOTION TO REQUIRE DEFT

TO POST SECURITY
PURSUANT TO PARAP RULE
1733

View

 

Jan/1 0/2020 MOTION/PETITION MOTION TO DIRECT DEFT TO View

* JUDGMENT EO

Jan/ 06/2020

Jan/06/2020

Dec/20/2019-

Dec/13/2019

Dec/09/201 9

DIE: JUDGMENT

FILE A STATEMENT OF
ERRORS COMPLAINED OF
ON APPEAL PURSUANT TO
PARAP RULE 1925B AND ~
ORDER AS SET FORTH

 

 

ON COURT ORDER DATED

AUG 23, 2019 JUDGMENT

ENTERED/NOTICE ENTERED NOTICE SENT

SENT

OPPOSITION -

NOTICE APPEAL

FROM THE
SUPERIOR
COURT

*NOTICE APPEAL

TO THE
SUPERIOR
COURT -

“OPINION AND _

ORDER

FORTH N236

DEFT U LOCK INCS
OPPOSITION TO MOTION TO
REQUIRE DEFT TO POST
SECURITY PURSUANT TO
PARAP 1733

NOTICE APPEAL FROM THE
SUPERIOR COURT |

“NOTICE APPEAL TO THE
SUPERIOR COURT

~ OPINION AND ORDER |
DECEMBER 6 2019.AS SET

View

View

 

 
 

 

“Now/26/2019 TRANSGRIPT OF - “TRANSCRIPT OF Vie
PROCEEDINGS © PROCEEDINGS

 

Oct/21/2019 BRIEF IN PURSUANT TO PARGIV PROC View
-. OPPOSITIONTO — 227.1
POST-TRIAL
MOTION
Oct/17/2019 ORDER “OCTOBER 16 2019THE ~ View
CONTINUING HEARING ON PLFFS MOTION
HEARING = FOR POST TRIAL MOTION IS
HEREBY CONTINUED TO
_NOVEMBE 8 2019
/ Oct/15/2019 BRIEF IN PLAINTIFFS BRIEF IN View

OPPOSITION TO OPPOSITION TO DEFENDANT:
U LOCK INCS POST-TRIAL
MOTIOINS PURSUANT TO PA
R CIV PROG RULE 227.1

Sep/30/2019 BRIEF IN PURSUANT TO PARCIV PROC ° Vie

 

SUPPORT OF RULE 227.1
POST-TRIAL
MOTION
Sep2a/2019 BRIEF IN “RELIEFPURSUANTTO View
SUPPORT OF PENNSYLVANIA RULE OF
POST-TRIAL CIVIL PROCEDURE 227.1
MOTION -
Sep/16/2019 ORDERORAL SEPTEMBER 132019 THAT View
: ~- ARGUMENT THE ORAL ARUGMENT ON

THE MOTION FOR POST
TRIAL RELIEF IS SCHEDULED
OCTOBER 21 2019 N236
Sep/13/2019 MOT/PETPOST- MOTIONFORPOSTTRIAL View
TRIAL RELIEF RELIEF PURSUANT TO PAR
CIV PROC 227.1

- Sep/13/2019 OBJECTIONS TO. OBJECTIONS TO DEFTS View

MOTION MOTION FOR POST TRIAL
RELIEF PURSUANT TO

PARCIV PROC 227. ‘

 

 
 

 

-Sep/03/2019 MOT/PET POST: DEF MOTION FOR POST Vie

TRIAL RELIEF TRIAL RELIEF PURSUANT TO
PA RCP 227.1

Aug/23/2019 OPINION AND NON JURY TRIAL OPINION View
.. ORDER AND ORDER AUG 22 2019 AS
TO PLFFS COMPLAINT
VERDICT IS HEREBY
ENTERED IN FAVOR OF PLFF
CHRISTINE BIROS AND
GAINSG DEDT U LOCK INC
ON COUNTS I AND II COUNT
Ill OF PLEFS COMPLAINT IS

 

 

 

" Jun/04/2019 NOTICE ~ OF COMPLIANCE WITH View
_ORDER OF COURT

May/20/2019 FINDINGS OF ‘DEFTS PROPOSED FINDINGS View
FACTAND ~. OF FACT AND CONCLUSION
CONCLUSIONS OF OF LAW WITH PROPOPSED

LAW . _ORDER
‘May/17/2019 FINDINGS OF. PROPOSED View
-  FACTAND
CONCLUSIONS OF
- LAW

nee eo ee ee ee ee eo Se rt nee ner a ere paperanian ete ee

-May/1 5/2019 “TRANSCRIPT OF - HEARD ON APRIL 29, 2019 View
PROCEEDINGS ~

May/06/201 g ORDER ORDER MAY 3, 2019 THAT

 

 

View
_ AMENDING THE CAPTION IS AMENDED -
AS SET FORTH
» Apris0/201 9 -MOT/PET TRIAL AND ORDER APRIL 29, View
CONTINUANCE 2019 DENIED WITH
PREJUDICE
- Apr/26/2019 PRAECIPE _ AND ORDER ACCERPT FOR View
WITHDRAW ~ FILING BY THE COURT
‘PRELIMINARY ~

_ OBJECTIONS ©

 

 

 

 
 

ed -Aen6(2019 MOTION/PETITION MOTION TO.WITHDRAW * _ View”. |
Th, D PRELIMINARY OBJECTIONS : oS

~ AND-‘ORDER APRIL 26, 2019 .

THAT THE PRELIMINARY
OBJECTIONS FILED ON —
DECEMBER 1, 2017 ARE

 

 

 

 

 

 

 

 

 

 

 

> REASSIGNMENT
FORM FROM

_ HEREBY DISMISSED WITH
Pe = _ PREJUDICE. °
Apr/26/2019 "CERTIFICATE OF " OF THE ORGINALANSWER ” View
“a SERVICE AND NEW MATTER FILED ON :
ay Se APR232019
= |{, Apr/26/2019°-RESPONSE- ~ ”. PLFF$ RESPONSE TO DEFTS- 5 View
2.5 PLAINTIFF'S NEW MATTER . mo
"Apr/23/2019 ANSWER AND ANSWER AND NEW MATTER | View
wer [Pe . NEWMATTER | / ce
"| (apri04i2019 SCHEDULING _ ORDER APRIL 3, 2019 THAT A A View a
ek ORDER " - ONE DAY NON-JURY TRIAL IS
S SCHEUDLED ON APRIL'29,
oy 2019 N236
‘Apriot/2019 PRAECIPE TO SET TRIAL DATE =. View:
| Mari2g/2019. MOTION/PETITION TO ENFORCE SETTLEMENT "View :
“AP Febi25/2018. ANSWER - ANSWERS AND-OBJECTIONS... View
Be TOTHESECONDSETOF .
INTERROGATORIES
REQUEST FOR ADMISSIONS
_ AND REQUEST FOR
- |. PRODUCTION OF
1, DOCUMENTS DIRECTED TO -
7 . U-LOCK INC
“Yan/26/2019 ORDER on “ORDER THAT RULING ON: +: View’.
“.. *°". PRELIMINARY. | SAID PRELIMINARY
» OBJECTION OBJECTIONS IS DEFERRED |
ne AS THE PARTIES PURSUE -
SETTLEMENT AS SETFORTH «.
: : : N236 .
“|| Becio7i2018 JUDICIAL MARSILITOJUDGE View.

~ MARSILI/SMAIL .

 

 

 

 

 
 

_ Ded/o7/201 8. MOTIP ET

. HEARING :

MOTION TO. SCHEDULE: °

a HEARING TO DETERMINE
. PRELIMINARY OBJECTIONS ~
AND ORDER HEARING IS .«.

SCHEDU LED ON’ JANUARY
24, 2019." :

<)
Si,

 

yf: Oct12/2018°

‘RESPONSE -
-:PLAINTIFF'S

TO DEFT U LOCK INCS NEW =
MATTER :

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=

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-Oct/01/2048

AMENDED ..-:-

DEFT U: ‘LOCK INCS:
AMENDED. OBJECTIONS AND
RESPONSES TO THE |

". INTERROGATORIES -
- REQUESTS FOR
ADMISSIONS AND REQUEST :
FOR PRODUCTION:OF © ”
-.' DOCUMENTS AND:EXHIBITS
... A THROUGH Y.NOT IMAGED. |

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“jf Sep/21/2018-

' AMENDED: oe
_ ANSWER AND:

NEW MATTER

"_., TOCOMPLAINT: FOR...
_DECLATORY JDGMT AND
“EQUITABLE ACTION TO
‘CONVEY. TITLE TO QUIET. .
___. TITLE AND FOR AN’

“~~: ACCOUNTING

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iD
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|; Sep/07/2018

ORDER: : -
PRELIMINARY:

_ OBJECTION .

=) ORDER SEPT6 2018 THAT
“PRELIMINARY OBJECTIONS

“ARE OVERRULED IN PART
‘SUSTAINED IN PART AND _ -
“. STRICKEN IN PART AS SET

FORTH N236

 

 

 Sep/07/2018

MOT/PET STAY
” TAX SALE (NO.

By FEE):

-AND ORDER ASSET FORTH

 

2) Juvoe/2018

ORDER

" ORDER DEFTS:PETITION
FOR PROTECTIVE ORDER IS
GRANTED AS SET. FORTH.

 

 

 

 

 

 
 

 

 

" JulV06/2018 “MOT/PET DEFT U LOCK. INCS PETITION View

. PROTECTIVE PURSUANT TO

ORDER PENNSYLVANIA RULE OF
CIVIL PROCEDURE 4012A
FOR A PROTECTIVE ORDER

AND FOR A THIRTY (30) DAY
EXTENSION OF TIME TO
RESPOND TO THE PLFFS
DISCOVERY REQUESTS

‘Juvos/2018 | " MOTIPET COMPEL DISCOVERY RESPONSE TO _—View
DEFTS OBJECTIONS TO

PLFFS DISCOVERY REQUEST

AND RESPONSE TO PLFFS

MOTION FOR PROTECTIVE

ORDER

 

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“Juvo2/2018" RESPONSE _ TO DEFTS UL LOCK INCS Vie
ANSWER TO PRELIMINARY
OBJECTIONS

 

 

~ Jun/13/2018 [ANSWER = ‘DEFT U LOCK INCS ANSWER View
PRELIMINARY TO PRELIMINARY
OBJECTIONS OBJECTIONS BASED UPON
FAILURE TO CONFORM TO
RULE OF COURT AND FOR
~ INCLUSION OF SCANDALOUS
AND IMPERTINENT MATTER
AND INSUFFICIENT
SPECIFICITY IN PLEADING

 

“Jun/13/2018 BRIEF IN DEFT U LOCK INCS BRIEF IN View
OPPOSITION TO OPPOSITION TO
‘PRELIMINARY PRELIMINARY OBJECTIONS
OBJECTION BASED UPON FAILURE TO
CONFORM TO RULE OF
COURT AND FOR INCLUSION
OF SCANDALOUS AND *:
IMPERTINENT MATTER AND
INSUFFICIENT SPECIFICITY
IN PLEADING

 

oS Mayi2ai2018- CERTIFICATE OF OF SCHEDULING ORDER View

SERVICE| DATED MAY 17 2018

 

 
 

oy | wayrerore SCHEDULING. FING BRIEFS N236

- ORDER

 

: Mesiieioie OBIECTONS AND-RESPONSES TOTHE > View

RTE INTERROGATORIES

REQUESTS, FOR. _

.. ADMISSIONS AND REQUEST.

“<. FOR’ PRODUCTION OF | .
Saas} DOCUMENTS. :

 

‘May/14/2018 PRELIMINARY. ‘BASED UPON FAILURE TO"

- OBJECTIONS: :CONFORMTORULEOF  ::
a - GOURT AND FOR INCLUSION -
©) OF SCANDALOUS AND:
_= IMPERTINENT MATTER AND °
"INSUFFICIENT SPECIFICITY.
‘IN| PLEADING AND BRIEF: IN::
SUPPORT!; |

 

1, Apr/23/2018 “NOTICE OF 1) OF INTERROGATORIES
Doe SERVICE .. "_», REQUEST FOR‘ADMISSIONS:.
a =? AND REQUEST FOR»
“‘PRODUGTION OF’. :
=: ‘DOCUMENTS DIRECTED TO
...,ULOCKING

 

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3p ye

» Apri23/2018 “QPPOSITION ©: TO PRELIMINARY
pe “sn! OBJECTIONS

 

Soe
eS

‘Apr/23/2018 AMENDED - = TO-COMPLAINT IN ¢ CIVIL :
“: ANSWER AND: = ACTION FOR DECLATORY
_NEWMATTER |... JUDGMENT AND EQUITABLE:
Do ~ . ACTION TO CONVEY TITLE .
TO QUIET TITLE ANDFOR AN...

ACCOUNTING *

 

-Apr/19/2018; CERTIFICATE: OF OF SCHEDULING ORDER
"SERVICE " " ”

 

*[h: Apr/12/2018: SCHEDULING "7 FILING BRIEF N236 °
ys ne “ORDER: ee | noe

 

 

 

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|. ‘apr04/2018 8.

View

 

 

 

 

 

 

 

 

“5. FORM FROM. -

| JUDGE MARSILL he

PRELIMINARY” PRELIMINARY OBJECTIONS . . View
» OBJECTIONS ' ': BASED UPON FAILURE TO
“CONFORM TO RULE OF:
COURT AND FOR INCLUSION
OF.SCANDALOUS AND |
IMPERTINENT MATTER AND
“ INSUFFICIENT:SPECIFICITY ..
IN PLEADING AND BRIEF IN= 2
. SUPPORT oe
‘Mar/28/2018 PRAEGIPE . AND BRIEF IN SUPPORT | View:
mele WITHDRAW. afi nad
PRELIMINARY |
BS OBJECTIONS
\' Mar/19/2018 -ANSWER " AND'NEW MATTER TO..." View,
TEE COMPLAINT ‘COMPLAINT IN CIVIL ACTION
FOR DECLARATORY = |=
__, JUDGMENT AND EQUITABLE. .
- °: ACTION TO CONVEY TITLE = os
“TO QUIET TITEE AND FOR AN:..
os . a ACCOUTING
‘Mai/16/2018 ORDER THAT THE: DEFAULT JOGMT. View ::
wee ee IN FAVOR OF PLFF AND | ee
AGAINST DEFT-U LOCK IS
a " - ~ STRIKEN AS-SET FORTH
‘Mar/16/2018 MOT/PET STRIKE -MOTION:TO STRIKE DEFAULT View:
Bo, JUDGMENT (NO JUDGMENT (NO. FEE) ' oo:
FEE)
. Mar/16/2018 ‘SCHEDULING SCHEDULING ORDER MARCH View
: SH! (ORDER ". 15, 2018 FILING BRIEF AS :
- IE y SET FORTH N236
-Mar/12/20+8 APPEARANCE JOHN A TUMOLO. ESQ View:
“o..  ENTERED BY :
“1! Marf08/2018: JUDICIAL. ° FROM.JUDGE SCHERER TO _ View
yp REASSIGNMENT *~ OF

 

 

 

 
 

 

| Mar/06/2018 “ORDER RECUSAL ORDER RECUSAL THAT THE

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COURT ADMINISTRATORS
OFFICE SHALL REASSIGN
THIS CASE TO JUDGE
ANTHONY MARSILLAS SET
FORTH N26
Mar/05/2018 ANSWER FORDECLARATORY. >View
_ COMPLAINT JUDGMENT AND EQUITABLE
ACTION TO CONVEY TITLE
TO QUIET TITLE AND FOR AN
ACCOUNTING
Mar/05/2018 APPEARANCE J ALLEN ROTH ESQ View
ENTERED BY
Mar/05/2018 BRIEF-IN BRIEF IN SUPPORT OF DEFT View
SUPPORT OF  ULOGK INCS PRELIMINARY
PRELIMINARY OBJECTIONS TO THE
OBJECTIONS — COMPLAINT
‘Mar/05/2018 PRELIMINARY  DEFTULOCKINCS .~. View
OBJECTIONS —_ PRELIMINARY OBJECTIONS
TO THE COMPLAINT
Mar/0S/2018 *MOT/PET OPEN *MOT/PETOPENOR STRIKE View
ORSTRIKE | JUDGMENT
JUDGMENT
Mar/02/2018 APPEARANCE = DENNISDDECCOTTOESQ View
ENTERED BY
Feb/23/2018 *JUDGMENTEO  *JUDGMENT EO DIE: View

 

DIE: JUDGMENT JUDGMENT
ENTERED/NOTICE ENTERED/NOTICE SENT

SENT
Feb/21/2018 -PRAECIPE PRAECIPE REINSTATE View
REINSTATE COMPLAINT EO DIE:

COMPLAINT EO ~ COMPLAINT REINSTATED
DIE: COMPLAINT ~
REINSTATED

Feb/21/2018 RETURN SERVICE OF PROCESS BY View
BY PUBLICATION

ee eri we ey

 

 

 

 

 
 

 

 

- \ -Janv19/2018-

 

PRAECIPE

PRAECIPE REINSTATE

 

 

View
“ REINSTATE =. COMPLAINT EO DIE: ©
COMPLAINT EO... COMPLAINT REINSTATED
“DIE: COMPLAINT
REINSTATED .
_dan/12/2018 MOTION/PETITION ‘MOTION FOR SERVICE BY View
PUBLICATION PURSUANT TO
RULE 430 AND:ORDER THAT
DEFT U LOCK INC MAY BE
SERVED BY PUBLICATION IN
ACCORDANCE WITH PA.
PRCP RULE 430
" Jan/12/2018 “*PRAECIPE INDEX’ *PRAECIPE INDEX LIS - View

LIS PENDENS

~ PENDENS

 

 

 

 
CERTIFICATE OF SERVICE

I certify that a true copy of the foregoing was mailed on May 23, 2022 to the following:

William Otto, Esquire
PO Box 701
Murrysville, PA 15668

I certify that a true copy of the foregoing was hand delivered to the Honorable Judge Harry

F. Smail at the Westmoreland Court of Common Pleas, Courtroom 2, Greensburg, PA
15601

 

Fp Roth, Esquire
